                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

STEVEN SMITH,                                )
                      Plaintiff,             )
                                             )
v.                                           )       CIVIL ACTION NO. 1:22-cv-00149
                                             )
AUGUSTA-RICHMOND COUNTY,                     )
    GEORGIA; RICHARD                         )
     ROUNDTREE, individually                 )
    and in his official capacity as          )
    Sheriff of Richmond County,              )
    Georgia; DEPUTY MARLON                   )
    SMITH, individually and in his           )
    Official capacity as a sworn             )
    Officer of the Richmond County           )
    County Sheriff’s Office;                 )
    Sheriff’s Office; LIEUTENANT             )
     DANNY WHITEHEAD,                        )
    Individually and in his official         )
    capacity as a sworn officer of the       )
    Richmond County Sheriff’s Office         )
    and JOHN DOE DEFENDANTS                  )
    ONE THROUGH SIX, presently               )
    unidentified to Plaintiff, each of       )
    whom is sued individually and in         )
    his capacity as a sworn officer          )
    of the Richmond County Sheriff’s         )
    Office,                                  )
                    Defendants.              )

         PLAINTIFF’S RENEWED MOTION PURSUANT TO COURT ORDER
                            OF FEBRUARY 9, 2024
                                   AND
            PLAINTIFF’S RESPONSE TO ORDER OF FEBRUARY 9, 2024

       The Court’s Order of February 9, 2024, upholding the Magistrate Judge’s conclusion that

Defendants’ attorney-client privilege has not been waived as to certain emails, contains an unusual

provision. The Court has directed that Defendants shall obtain an affidavit from Defendant

Richard Roundtree, addressing three specific topics relevant to Plaintiff’s claim of waiver of



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privilege. The Court further directs that this affidavit, although apparently not to be filed as part

of the Record in this case, is to be emailed to Plaintiff’s counsel, who within 14 days “may file a

renewed motion if the affidavit contains information that provides a good faith basis for claiming

waiver under the legal analysis [in the Order] and in the Magistrate Judge’s Order on appeal.” The

Court then states that the Magistrate Judge will consider any such motion.     Order of February 9,

2024 (the “Order”), Document 69, pp. 5-6.

       Plaintiff approaches a response to the Order with some trepidation, because Plaintiff finds

it unclear what standard he is to apply in determining whether he should file a renewed motion.

Plaintiff has no wish to violate the Court’s Order or to prolong proceedings in this case

unnecessarily. The Sheriff’s Affidavit contains no affirmative new information that would support

Plaintiff’s claim of waiver. It would be surprising if it did, since there would be no reason to

suppose that the Sheriff would submit information that would damage his claim. The Sheriff has

been invited to support his claim and then Plaintiff has been invited to find something in the

Sheriff’s response that supports the opposite conclusion. Thus, if the Court’s Order is taken to

mean that Plaintiff is authorized to file a renewed motion only if the affidavit “contains

[affirmative] information that provides a good faith basis for claiming waiver”, then it would

appear that Plaintiff should not do so. In that case, Defendants have been invited to buttress the

Magistrate Judge’s decision with material not in the Record when the Magistrate made his ruling,

but under circumstances that virtually preclude any further effort by Plaintiff. On the other hand,

if the Sheriff’s Affidavit is judged by what it does not contain, then it seems that a response from

Plaintiff would be appropriate, since the Affidavit only underscores and demonstrates that

Defendants have not met their undoubted burden of proof to show that all who received the emails

at issue had a “need to know” their content. Furthermore, it seems to Plaintiff that the Court surely



                                                 2
did not intend to allow one side to buttress its argument with supposedly new evidence, while not

allowing Plaintiff at least to discuss this new material even if it supposedly benefits only

Defendants.

       What the Sheriff has done by affidavit is simply to restate under oath, with his ipse dixit

alone, the alleged information upon which the Magistrate Judge relied. The deficiencies and

failures of the Sheriff’s Affidavit, as described below, are themselves a good faith basis for

Plaintiff’s claim of waiver of the privilege, even though this good faith basis proceeds from an

evaluation, not of what the affidavit does contain, but what it conspicuously does not contain. It

is on this basis that Plaintiff’s counsel considers himself bound to file a renewed motion, and a

specific “Response” to the Court’s Order.

       Because the Magistrate Judge is apparently to consider the content of the Sheriff’s

Affidavit if Plaintiff files a renewed motion, and because the Order states that its directions as

stated above are “to ensure a full and complete record”, Plaintiff attaches hereto a copy of the

Sheriff’s Affidavit as Exhibit “A”. The original is presumably in the possession of Defendants’

counsel, and Plaintiff hereby requests that Defendants’ counsel file the original as part of the

Record in this case. Plaintiff wishes also to note that the Sheriff’s Affidavit contains statements

that are not subject to cross-examination, because this entire controversy arose only after the close

of discovery in the case. The reason for this is that, during the discovery period, Defendants failed

to identify the emails in question and failed to provide any privilege log. Plaintiff further notes

that at no time has the Magistrate Judge actually reviewed the emails in question, even in camera,

as Plaintiff had sought to be done.




                                                 3
                                         BACKGROUND

       Plaintiff respectfully submits that in considering this renewed motion, it is important to

keep in mind the underlying situation which has resulted in Plaintiff’s claim of waiver, in light of

the evidence of record. An outstanding issue in this case is the extent to which Defendant Sheriff

Roundtree can be implicated personally in the campaign of harassment conducted against Plaintiff

over a period of years, with its resultant deprivations of liberty and violations of constitutional

right. A key question is the extent to which the Sheriff was personally aware of the ongoing

controversy between officers of the Richmond County Sheriff’s Office (the “RCSO”) and Plaintiff,

or of the complaints made to various officers by Mr. Thomas Burnside. These complaints from

Mr. Burnside were so frequent, and the determination of RCSO officers to “shut down” Plaintiff’s

protests so strong, that during one particular period of indefinite length, officers of the RCSO were

directed by their superiors to visit the Abortion Facility location every hour on the hour, even in

the absence of a particular complaint, apparently to see if Plaintiff could be caught doing something

wrong. In this regard, see the emails identified by Patrick Clayton, the Sheriff’s Chief Deputy, in

his deposition exhibits 2-7, as attached as Exhibit 2 (Document 68-2) to Plaintiff’s Objection to

the part of the Magistrate Judge’s ruling now at issue (Document 68) and in particular Exhibit 7.

In this Exhibit 7 (copy attached hereto as part of Composite Exhibit B), Mr. Burnside complains

and Chief Deputy Clayton forwards this complaint to one of his subordinates, who in turn issues

an order that “effective immediately [June 21, 2022]. . every hour we need to do an area check of

this location during business hours. Make sure we go out over the radio to document in order to

document that we are checking it. . . and remember they also are recording any incidents with law

enforcement . . .” Chief Deputy Clayton testified that he kept Sheriff Roundtree informed “about

law enforcement problems that have come up in your division” “probably every day”. Clayton



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Deposition, pp. 4-5.      Yet at his deposition on June 30, 2023, Chief Deputy Clayton, while

admitting the possibility, could not remember whether he had ever discussed Plaintiff or problems

at the Abortion Facility with Sheriff Roundtree. Id., pp. 49-50. And Sheriff Roundtree on the

same day testified without qualification that he had never heard of problems at the Abortion

Facility before the filing of the present lawsuit and had never discussed any such problems with

Chief Deputy Clayton.         Roundtree Deposition, p. 9. Copies of all this material are attached

hereto as Composite Exhibit B. Together they surely show the great importance of any email

received by Sheriff Roundtree that may bear on this situation. Plaintiff can think of no reason that

the emails at issue would have been identified even in Defendants’ tardy privilege log, unless they

bear on this situation.

        Plaintiff bases his claim of waiver of privilege on two disclosures by Defendants and their

subordinates: (1) on the disclosure of the withheld emails to all members of Sheriff Roundtree’s

so-called “Command Staff”, and (2) on the disclosure of the withheld emails to other RCSO

employees. In neither case have Defendants carried their burden of proof that these persons had a

“need to know” of the content of the emails. Because the disclosure to persons who were not

members of the “Command Staff” is simpler to explain, and since Defendants’ failure to carry

their burden of proof in this case is clearer, Plaintiff discusses it first.

                     LOSS OF PRIVILEGE THROUGH COMMUNICATION
                       OF THE ALLEGEDLY PRIVILEGED EMAILS TO
                        MESSRS. WALTER ASHLEY, CHAD MALLIS,
                           TRACY CARTER, WILLIAM McCARTY
                                    AND CALEB LEE

The clearest evidence that the emails at issue were not distributed only to persons with a need to

know their contents is the inclusion of persons who were not even members of the Sheriff’s so-

called Command Staff. The pertinent portion of the Court’s Order in this regard required the



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Sheriff to swear to the job duties of six recipients of the forwarded emails at-issue, and whether

those job duties concerned the noise ordinance, particularly enforcement duties. Rather than fairly

meeting the substance of the Court’s Order, the Sheriff’s affidavit simply states that “Walter

Ashley, Jeff Johnson, Chad Mallis, Tracy Carter, William McCarty, and Caleb Lee were certified

officers who must be knowledgeable about all RCSO policies related to ordinance enforcement as

they could be called to respond or assist on any calls.” Affidavit, Paragraph 13. The problem with

this statement is obvious: if one merely needs to be a certified officer to invoke the attorney-client

privilege at the Sheriff’s Office, then nearly all personnel save desk staff would be entitled to all

attorney-client privileged information circulated by counsel for the Sheriff. Respectfully, this

simply cannot be the law. The fact that the most the Sheriff is willing to swear to is that, vaguely,

their job responsibilities could require them to respond to noise complaints should be found

insufficient by the Court. The Sheriff’s affidavit makes it clear he cannot affirmatively swear that

these six persons’ job duties actually relate to noise ordinance enforcement, and for the Court to

countenance this affidavit as sufficient evidence of their job responsibilities would effectively

extend privilege as to all matters to all certified officers, regardless of rank or responsibility. This

sort of blanket claim makes a mockery of the requirement that to preserve the attorney-client

privilege communications from lawyers cannot be distributed broadcast, but must be limited to

persons with a real (not imaginary or conceivable) need to know their contents. The Sheriff’s

unsurprisingly self-serving affidavit, rather than truly complying with the Court’s Order, instead

lays bare the continued attempt by the Sheriff to create a blanket privilege as to all personnel at

the Richmond County Sheriff’s Department. This is plainly not permitted by law.

     LOSS OF PRIVILEGE THROUGH COMMUNICATION TO “COMMAND STAFF”




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       As to the Sheriff’s “Command Staff”, the Order directs that the Sheriff in his affidavit

address “the purpose, authority, and function of the Command Staff as an executive body,

including whether the Command Staff has any role with respect to consideration of county

ordinances or Sheriff’s Department policies, procedures, and/or operations.” Sheriff Roundtree

attempts to respond to this requirement in paragraphs 2 through 10 of his Affidavit.

       Paragraphs 2 through 9 of the Affidavit consist of general assertions such as that all

Command Staff members attend regular meetings at which “enforcement issues related to

ordinances”, etc., are discussed, all are “expected” to be “knowledgeable” about enforcement

matters and “to contribute ideas to these discussion whether the issues directly affect their division

or not”, and that “divisions [of the RCSO] do not operate in a vacuum.” These assertions appear

to operate on the assumption that the current “need to know” standard for the waiver of privilege

question merely absorbed and extended the old “control group” standard, whereas in fact Upjohn

replaced the old “control group” standard with a more specific and individually tailored one. In

short, they seem to operate on the view that if a person is designated by an organization as in some

way a part of upper management, then it is unnecessary to understand, in order to determine

whether the privilege has been waived, whether that person actually had a need to know the

allegedly privileged information in order to fulfill his actual, rather than merely possible or

conceivable, job responsibilities. There is no authority for such a view of the matter in reported

cases since Upjohn.

       Only in paragraph 10 of his Affidavit does the Sheriff make specific representations as to

how it is that all Command Staff members “must be concerned about overall operations”. These

are that “members” of the Command Staff (and note that the Sheriff does not say this of all

members of Command Staff) “alternate being the on-call supervisor during night and weekend



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shifts during which they may have to respond to and supervise incidents related to any division of

the RCSO.” He continues in this paragraph attempting to show that “members” of the Command

Staff (and again, he does not say “all” members) may, because of “ongoing labor shortages” or for

other reasons, have to supervise law enforcement. This is one in particular of the areas of the

Affidavit to which Plaintiff cannot adequately respond without the opportunity for cross-

examination.

        What the Sheriff conspicuously does not say in his affidavit is that the particular members

of Command Staff who were identified by Plaintiff as not having been shown to have a “need to

know” have ever alternated as on-duty supervisors for the night shift or on weekends, or that they

have at any time actually supervised officers actually engaged in law enforcement, that is, the

proverbial “cops on the beat”. Had this been the case, it would have been easy enough to say so.

Frankly, it is not credible that in a professional law enforcement organization of the size of the

RCSO such duties of supervision of line enforcement officers, even on a weekend or night-time

basis, or because of “staffing shortages”, would be delegated to the person who directs the

“resiliency and wellness center” for the RCSO, or to the “finance director” of the RCSO, for

instance. Plaintiff should be entitled to cross-examination of these persons and others mentioned

in Plaintiff’s Brief of January 23, Document 68, as well as the Sheriff himself and other persons

within the Command Staff, to determine whether they have ever in fact supervised line officers or

done any of the other things that the Sheriff asserts are done by “members” of his Command Staff.

If not, then there is no showing that these persons would have a “need to know” (not an opportunity

to know) what advice the Sheriff may have received from his counsel concerning law enforcement

in this context.




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                                            CONCLUSION

        The Magistrate Judge’s decision turns the law regarding waiver of the attorney-client

privilege    through     disclosure    on     its   head.    As     to    the    disclosure    to    all

Command Staff” members, it allows vague statements as to the participation of various individuals

in the high-level management of the RCSO to replace individualized evidence that such

management persons had an actual need to know of the information communicated from counsel

to Sheriff Roundtree in this case. As to non-members of the Command Staff, it allows the mere

fact that such persons are sworn law enforcement officers and thus could or might some day be

called to accomplish enforcement duties to replace individualized evidence that in the present case

such officers had a need to know what counsel may have told Sheriff Roundtree. Both these

standards lose sight of the overall meaning of the waiver of privilege doctrine, which is that if

attorney-client communications are not kept appropriately confidential, they lose their privileged

status. a

        As demonstrated in Plaintiff’s prior briefs, where the question of waiver is raised, it is clear

that the proponent of the privilege has the burden of proof that it has not been breached. As to the

disclosure to all members of Sheriff Roundtree’s “Command Staff”, regardless of their position in

the management of the RCSO, of whatever it is that Sheriff Roundtree’s counsel told him by email,

the assertions of Sheriff Roundtree’s Affidavit do not show that this disclosure does not waive the

privilege. The statements made in Sheriff Roundtree’s Affidavit do not carry Defendants burden

of proof in this regard. Even if they did so as to Command Staff members, they have not done so

as to the dissemination of this allegedly privileged material to the other, non-management officers

discussed above.




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       Because of the possible evidentiary value of this evidence, Plaintiff respectfully renews his

request that the Magistrate Judge or the Court at least review the emails at issue in camera. In an

effort to reduce the volume of paperwork generated by this controversy, Plaintiff also respectfully

requests that the Magistrate Judge, if he does revisit his conclusion, refer to Plaintiff’s Objection

with exhibits, filed January 23, 2024 as Document 68. Plaintiff does not waive his contention that

the Magistrate Judge’s conclusion is clearly erroneous on both the facts and the law, whether

judged on the Record on which the Magistrate Judge rested his conclusion, or on the expanded

Record which has resulted from Defendants’ purported compliance with the Court’s Order of

February 9, 2024.

       Plaintiff recognizes that the Court has found that the Magistrate Judge’s order “is not

clearly erroneous or contrary to law”, and that the Court has reached its conclusion on the basis of

the information available to the Magistrate Judge and the Magistrate Judge’s order alone, without

the need to consider the further information contained in the subsequent Sheriff’s Affidavit. For

these reasons, the Sheriff’s affidavit is insufficient to show that the privilege was claimable by

these persons, and Plaintiff thus does not waive his contention that the Magistrate Judge’s Order

is clearly erroneous and contrary to law, for the reasons Plaintiff has previously argued, based on

the entire record before the Court. Plaintiff does not waive his contention that the Magistrate

Judge’s conclusion is clearly erroneous on both the facts and the law, whether judged on the

Record on which the Magistrate Judge rested his conclusion, or on the expanded Record which

has resulted from Defendants’ purported compliance with the Court’s Order of February 9, 2024.




                                                 10
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  11
                                     CERTIFICATE OF SERVICE

        COMES NOW, the undersigned attorney for Steven Smith, Plaintiff in the above-captioned case,

and certifies that on March 8, 2024 he electronically filed the foregoing PLAINTIFF’S RENEWED

MOTION PURSUANT TO COURT ORDER OF FEBRUARY 9, 2024 AND PLAINTIFF’S

RESPONSE TO ORDER OF FEBRUARY 9, 2024 with the Clerk’s electronic filing system, which

will automatically provide service to all counsel of record as follows:

                         Frails & Wilson, LLC
                         Tameka Haynes
                         thaynes@frailswilsonlaw.com


                                                                   /s/ Charles C. Stebbins, III




                                                     12
